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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
    Heredia Mons, et al.,                    )
                                             )
           Plaintiffs,                       )
                                            )                 No. 19-cv-1593 (JEB)
    v.                                      )
                                             )
    Chad Wolf, et al.,                       )
                                             )
           Defendants.                       )

                              DEFENDANTS’ STATUS REPORT

         Pursuant to the Court’s minute order dated October 7, 2019, Defendants provide the

manually prepared and computer-generated reports more fully described in the Defendant’s

section of the Joint Status Report field on October 2, 2019. Pursuant to the Court’s order dated

October 5, 2020, this report, the accompanying Metoyer Declaration, and redacted Exhibits A

and B to that declaration are being filed on the public docket, with unredacted versions of

Exhibits A and B filed under seal. (ECF No. 40, Stipulated Protective Order ¶ 8)

         The manually produced spreadsheet reflects adjudications within the New Orleans Field

Office for those individuals who had been denied parole, and who request a new adjudication

pursuant to the provisions of the previously submitted class notice. 1 This spreadsheet reflects

data pertaining to applicable individuals for the period ending on November 17, 2020, and is

continuously updated with information for qualifying individuals who requested another parole

adjudication since October 14, 2019. (Metoyer Decl. ¶¶ 4-5). That spreadsheet reflects that,


1
       The spreadsheet originally was intended to be limited only to individuals within the Mons
class who had been denied parole prior to September 5, 2019, and who request a new
adjudication pursuant to the provisions of the previously submitted class notice. The
spreadsheet, however, also reflects individuals within the Mons class (as clarified by the Court’s
order dated January 9, 2020 (ECF No. 51)) who had entered ICE custody after September 5,
2019, and who have requested re-adjudications after being initially denied parole after entering
ICE custody.
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since the last entry on the previously filed spreadsheet, approximately 97 individuals requested

another parole adjudication and that, of those requests, 20 were granted and the rest were denied.

          The second spreadsheet is a computer-generated spreadsheet that tracks the parole

determinations conducted for newly-arriving detainees at the New Orleans Field Office for the

period beginning September 5, 2019, and on a going forward basis. This spreadsheet reflects

data from September 5, 2019 to October 15, 2020, and reflects initial parole determinations for

newly arriving detainees during that period. 2 (Metoyer Decl. ¶¶ 6-9) This spreadsheet reflects

that, since the last entry reflecting a decision on the previously filed spreadsheet, approximately

3 individuals received an initial parole determinations and that one was granted and the rest were

denied.

                                       Respectfully submitted,

                                       MICHAEL R. SHERWIN
                                       Acting United States Attorney

                                       DANIEL F. VAN HORN, D.C. BAR # 924092
                                       Civil Chief

                                       By: _____/s/_______________
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2
        The computer-generated spreadsheet is intended to track initial determinations of newly-
arriving detainees following the date of this Court’s preliminary injunction order and does not
track the outcome of any requests for redeterminations by those individuals pursuant to section
8.9 of the Parole Directive that may occur during the time period of that spreadsheet.


                                                  2
